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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
                                                                                            3/6/2025

 TIM JONES, on behalf of himself and all others
 similarly situated,
                                                       Civil Action No.: 1:23-cv-11145-MMG
                            Plaintiff,
        v.

 REGAL CINEMAS, INC.,

                            Defendant.



                        [PROPOSED] FINAL JUDGMENT AND
                       ORDER OF DISMISSAL WITH PREJUDICE

       WHEREAS, a class action is pending before the Court entitled Jones v. Regal Cinemas,

Inc., No. 1:23-cv-11145-MMG; and

       WHEREAS, Plaintiff Tim Jones, and Defendant Regal Cinemas, Inc. (“Defendant”) have

entered into a Class Action Settlement Agreement, which, together with the exhibits attached

thereto, sets forth the terms and conditions for a proposed settlement and dismissal of the Action

with prejudice as to Defendant upon the terms and conditions set forth therein (the “Settlement

Agreement”) (ECF No. 30-1); and

       WHEREAS, on November 20, 2024, the Court granted Plaintiff’s Motion for Preliminary

Approval of Class Action Settlement, conditionally certifying a Class pursuant to Fed. R. Civ. P.

23(b)(3) of “all individuals in the United States who purchased electronic tickets to any film

screening in any of Defendant’s cinemas located in New York state from Defendant’s Website

from July 31, 2023 to and through July 15, 2024, using the guest checkout process”; and

       WHEREAS, nothing has occurred since the entry of the Preliminary Approval Order

which causes this Court to alter the findings it made in the Preliminary Approval Order in

support of the approval of the settlement entered into between the Parties; and
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       WHEREAS, the Court has considered the Parties’ Class Action Settlement Agreement

(ECF No. 30-1), as well as Plaintiff’s Motion for Final Approval of the Settlement Agreement

(ECF No. 37), Plaintiff’s Motion for Attorneys’ Fees, Costs, Expenses, And Service Award (ECF

No. 33), together with all exhibits thereto, the arguments and authorities presented by the Parties

and their counsel at the Final Approval Hearing held on March 5, 2025, and the record in the

Action, and good cause appearing;

IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

       1.      Terms and phrases in this Final Judgment shall have the same meaning as ascribed

to them in the Parties’ Class Action Settlement Agreement.

       2.      This Court has jurisdiction over the subject matter of the Action and over all Parties

to the Action, including all Settlement Class Members.

       3.      The Notice provided to the Settlement Class pursuant to the Settlement Agreement

(ECF No. 30-1) and order granting Preliminary Approval (ECF No. 32) – including (i) direct notice

to the Settlement Class via email, based on the comprehensive Settlement Class List provided by

Defendant, and (ii) the creation of the Settlement Website – fully complied with the requirements

of Fed. R. Civ. P. 23 and due process, and was reasonably calculated under the circumstances to

apprise the Settlement Class of the pendency of the Action, their right to object to or to exclude

themselves from the Settlement Agreement, and their right to appear at the Final Approval

Hearing.

       4.      The Court finds that Defendant properly and timely notified the appropriate

government officials of the Settlement Agreement, pursuant to the Class Action Fairness Act of

2005 (“CAFA”), 28 U.S.C. § 1715. The Court has reviewed the substance of Defendant’s notice

and finds that it complied with all applicable requirements of CAFA. Further, more than ninety




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(90) days have elapsed since Defendant provided notice pursuant to CAFA and the Final Approval

Hearing.

       5.      This Court now gives final approval to the Settlement Agreement, and finds that

the Settlement Agreement is fair, reasonable, adequate, and in the best interests of the Settlement

Class. The settlement consideration provided under the Settlement Agreement constitutes fair

value given in exchange for the release of the Released Claims against the Released Parties. The

Court finds that the consideration to be paid to members of the Settlement Class is reasonable, and

in the best interests of the Settlement Class Members, considering the total value of their claims

compared to (i) the disputed factual and legal circumstances of the Action, (ii) affirmative defenses

asserted in the Action, and (iii) the potential risks and likelihood of success of pursuing litigation

on the merits. The complex legal and factual posture of this case, the parties’ exchange of relevant

information, and the fact that the Settlement is the result of arms-length negotiations between the

Parties support this finding. The Court finds that these facts, in addition to the Court’s observations

throughout the litigation, demonstrate that there was no collusion present in the reaching of the

Settlement Agreement, implicit or otherwise.

       6.      The Court has specifically considered the factors relevant to class action settlement

approval, including:

               (1) the complexity, expense and likely duration of the litigation; (2)
               the reaction of the class to the settlement; (3) the stage of the
               proceedings and the amount of discovery completed; (4) the risks of
               establishing liability; (5) the risks of establishing damages; (6) the
               risks of maintaining the class action through trial; (7) the ability of
               defendants to withstand a greater judgment; (8) the range of
               reasonableness of the settlement fund in light of the best possible
               recovery; and (9) the range of reasonableness of the settlement fund
               to a possible recovery in light of all the attendant risks of litigation.

City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974); see also Fed. R. Civ. P. 23(e).




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        7.      The Court finds that the Class Representative and Class Counsel adequately

represented the Settlement Class for the purposes of litigating this matter and entering into and

implementing the Settlement Agreement.

        8.      Accordingly, the Settlement is hereby finally approved in all respects.

        9.      The Parties are hereby directed to implement the Settlement Agreement according

to its terms and provisions. The Settlement Agreement is hereby incorporated into this Final

Judgment in full and shall have the full force of an Order of this Court.

        10.     This Court hereby dismisses the Action on the merits and with prejudice.

        11.     Upon the Effective Date of this Final Judgment, Plaintiff and each and every

Settlement Class Member who did not opt out of the Settlement Class (whether or not such

members submit claims), including such individuals’ respective present, past, and future heirs,

executors, estates, administrators, representatives, beneficiaries, predecessors, successors, assigns,

parent companies, subsidiaries, associates, affiliates, employers, employees, agents, consultants,

independent contractors, insurers, directors, managing directors, officers, partners, principals,

members, attorneys, accountants, financial and other advisors, underwriters, shareholders, lenders,

auditors, investment advisors, legal representatives, successors in interest, assigns, and companies,

firms, trusts, and corporations (the “Releasing Parties”) shall be deemed to have released

Defendant, as well as any and all of its current, former, and future parents, predecessors,

successors, affiliates, subsidiaries, divisions, or related corporate entities, and all of their respective

current, future, and former employees, officers, directors, shareholders, members, managers,

representatives, assignees, accountants, sales and/or customer service agents, joint venturers,

fiduciaries, beneficiaries, insurers, reinsurers, principals, trustees, administrators, executors,

attorneys, and customers (collectively “Released Parties”), from any and all actual, potential, filed,




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known or unknown, fixed or contingent, claimed or unclaimed, suspected or unsuspected, claims,

demands, liabilities, rights, causes of action, suits, liens, judgments, costs, contracts or agreements,

extra contractual claims, damages, punitive, exemplary or multiplied damages, expenses, costs,

attorneys’ fees, obligations, and all other legal responsibilities, whether in law or in equity, accrued

or un-accrued, direct, individual or representative, of every nature and description whatsoever,

whether based on the ACAL or other state, federal, local, statutory or common law or any other

law, rule, ordinance, claim, or regulation, whether past, present, or future, against the Released

Parties, or any of them, based upon, arising out of, or otherwise relating to any facts, transactions,

events, matters, occurrences, acts, disclosures, statements, representations, omissions or failures

to act regarding the alleged collection and retention by Defendant of fees in connection with

electronic ticket sales from July 31, 2023, through and including July 15, 2024, including but not

limited to all claims that were brought or could have been brought in the Action relating to any

and all Releasing Parties.

        12.     Upon the Effective Date of this Final Judgment, the above release of claims and the

Settlement Agreement will be binding on, and will have res judicata and preclusive effect on, all

pending and future lawsuits or other proceedings maintained by or on behalf of Plaintiff and all

other Settlement Class Members and Releasing Parties. All Settlement Class Members are hereby

permanently barred and enjoined from filing, commencing, prosecuting, intervening in, or

participating (as class members or otherwise) in any lawsuit or other action in any jurisdiction

based on or arising out of any of the Released Claims.

        13.     The Court has also considered Plaintiff’s Motion For Attorneys’ Fees, Costs,

Expenses, And Service Award, as well as the supporting memorandum of law and declarations

(ECF Nos. 33-36), and adjudges that the payment of attorneys’ fees, costs, and expenses in the




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amount of $833,333.33 is reasonable in light of the multi-factor test used to evaluate fee awards

in the Second Circuit. See Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 50 (2d Cir.

2000). Such payment shall be made pursuant to and in the manner provided by the terms of the

Settlement Agreement.

        14.    The Court has also considered Plaintiff’s Motion, memorandum of law, and

supporting declarations for an incentive award to the Class Representative, Tim Jones. See ECF

Nos. 33-36. The Court adjudges that the payment of an incentive award in the amount of $5,000

to the Class Representative to compensate him for his efforts and commitment on behalf of the

Settlement Class, is fair, reasonable, and justified under the circumstances of this case. Such

payment shall be made pursuant to and in the manner provided by the terms of the Settlement

Agreement.

        15.    All payments made to Settlement Class Members pursuant to the Settlement

Agreement that are not negotiated within one hundred and eighty (180) days of issuance shall

revert to the Legal Aid Society, which the Court approves as an appropriate cy pres recipient.

Except as otherwise set forth in this Order, the Parties shall bear their own costs and attorneys’

fees.

        16.    The Parties, without further approval from the Court, are hereby permitted to agree

and adopt such amendments, modifications, and expansions of the Settlement Agreement and its

implementing documents (including all exhibits to the Settlement Agreement), including

extensions of time, so long as they are consistent in all material respects with this Final Judgment

and do not limit the rights of Settlement Class Members.

        17.    If this Final Judgment is reversed or vacated on appeal, or the Settlement

Agreement is terminated pursuant to its terms, all orders entered in connection herewith shall be




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